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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


UNITED STATES OF AMERICA,         )
                                  )
              Plaintiff,          )
                                  )  Case No. 4:20 MJ 7179 SPM
                                  )
v.                                )
                                  )
MARCUS MARLVIN HUNT,              )
                                  )
              Defendants.         )
                                  )
             MOTION TO DISMISS CRIMINAL COMPLAINT

       COMES NOW the United States of America, by and through the United States Attorney

for the Eastern District of Missouri, Jeffrey B. Jensen, and Sirena Miller Wissler, Assistant

United States Attorneys for said District and hereby moves to dismiss the pending Criminal

Complaint against defendant Marcus Marlvin Hunt. After consultation with the United States

Pre-Trial Services Office, and with its participation, the parties intend to enter into a Pre-Trial

Diversion Agreement.


    SO ORDERED.                                        Respectfully submitted,
    Jun 11, 2020
                                                       JEFFREY B. JENSEN
                                                       United States Attorney

                                                       /s/ Sirena Miller Wissler
                                                       SIRENA MILLER WISSLER #55374MO
                                                       Assistant United States Attorney
                                                       111 S. 10th Street, 20th Floor
                                                       St. Louis, MO 63102
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                                CERTIFICATE OF SERVICE

 hereby certify that on June 11, 2020, the foregoing was filed electronically with the Clerk of the
Court to be served by operation of the Court’s electronic filing system and by United States mail
to the attorneys for the defendant.




                                              /s/ Sirena Miller Wissler
                                              SIRENA MILLER WISSLER# 55374MO
                                              Assistant United States Attorney
